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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

 ROBERT LOGAN AS PERSONAL                         §      CAUSE NO.: 1:14-cv-452
 REPRESENTATIVE OF THE ESTATE OF                  §
 LAURA ANN LOGAN-CEARLEY AND                      §
 MARGUERITE BICKNELL-LOGAN,                       §
 INDIVIDUALLY,                                    §
                                                  §
                      Plaintiffs,                 §
                                                  §
 V.                                               §
                                                  §
 EXPRESS SCRIPTS, INC. F/K/A MEDCO,               §
 INC.,                                            §

                      Defendant

                             PLAINTIFFS’ ORIGINAL COMPLAINT



                                        A. PARTIES

1.      Plaintiff, ROBERT LOGAN AS PERSONAL REPRESENTATIVE OF THE

 ESTATE OF LAURA ANN LOGAN-CEARLEY AND MARGUERITE BICKNELL-

 LOGAN, INDIVIDUALLY is an individual that is a citizen of the State of Texas.

2.      Plaintiff would show that Robert Logan is the Personal Representative of the Estate of

 Laura Logan-Cearley and Marguerite Bicknell-Logan is the biological mother of Laura Logan-

 Cearley.

3.      Defendant, EXPRESS SCRIPTS, INC. F/K/A MEDCO, INC., (hereinafter called

 “Defendant”), is a corporation that is incorporated under the laws of the State of Missouri.

 Defendant may be served with process to the following registered agent: Corporation Service

 Company d/b/a CSC-Lawyers Incorporating Service Company, 211 E. 7th Street, Suite 620,

 Austin, Texas 78701-3218.

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4.        Plaintiffs would show that at all times material herein, Defendant, EXPRESS

 SCRIPTS, INC. F/K/A MEDCO, INC was, and is, a professional pharmacy who held itself

 out and does hold itself out to the general public, including the Plaintiffs herein, as being

 qualified and competent to fill prescriptions and provide prescription medications for patients

 such as the Plaintiff herein, with all the necessary care and precaution expected of a professional

 pharmacy.

                                                B. VENUE

 5.       Venue is proper in this district under 28 U.S.C. §1391(b) (2) because the events made the

 basis of this lawsuit occurred in the Western District of Texas, Austin, Travis County, Texas.

 Moreover, Laura Logan-Cearley resided in Travis County, Texas and the Western District of

 Texas when she ingested the medication at issue and she died in the Western district of Texas,

 therefore, venue is proper in this district.

                                           C. JURISDICTION

     6.   Plaintiffs would respectfully show that the Court has jurisdiction in this case in that the

 Plaintiffs and Defendant are citizens of different states and therefore this Court has jurisdiction

 pursuant to 28 U.S.C. §1332. Plaintiffs are citizens of Texas. Defendant is a corporation

 incorporated under the laws of Missouri and maintains its principal place of business in

 Missouri. The amount in controversy exceeds $75,000.00 excluding interest and costs, the sum

 or value specified in 28 U.S.C. §1332. However, the Defendant’s contacts with the State of

 Texas include acts that were a direct and proximate cause of the damages sued for in this action,

 subjecting Defendant to the jurisdiction of Texas courts under the theory of Specific Jurisdiction

                                                D. NOTICE

 7.       Plaintiffs would respectfully show unto the Court that they have complied fully with the

 notice provision set forth by Chapter 74 of the TEXAS CIVIL PRACTICE AND REMEDIES CODE in

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that Plaintiffs mailed notice of this claim by certified mail, return receipt requested, to Custodian

of Records, Express Scripts, Inc. f/k/a MEDCO, Claims Dept – Records, 8931 Springdale

Avenue – STLT5E, St. Louis, MO 63134 more than 60 days before the filing of this complaint.

On December 6, 2013, counsel for Plaintiff          mailed, via Certified Mail, Return Receipt

Requested, a notice of claims pursuant to §74.051 of the Texas Civil Practice & Remedies Code.

The notice letter is attached as Exhibit “A” hereto. The notice letter was accompanied by an

authorization form fully compliant with §74.052 of the Texas Civil Practice & Remedies Code.

This is the address on Defendants’ website. This Complaint is being filed within 75 days of the

two year anniversary of Laura Logan-Cearley’s discovery of that the medication was causing her

death and did in fact cause here death, and was therefore timely filed within the applicable Texas

statute of limitations. All conditions precedent have occurred or have been performed.

                                   E. FACTUAL BACKGROUND

8.      Laura Logan-Cearley’s leukemia was in remission when she was required by her insurer

to begin filling her prescriptions for her leukemia related medications through Defendant.

Shortly after beginning to use the prescription medication provided by Defendant, Laura Logan-

Cearley’s condition abruptly began to deteriorate for reasons neither she nor her doctors could

attribute to her illness.

9.      Upon information and belief, Ms. Logan-Cearley’s condition worsened from defects

associated with the prescription medication provided by Defendant, or alternatively, due to the

improper dosage of the prescription provided by Defendant until finally, she died from the

effects of the defective medication and/or improper dosage provided by Defendant and which

she unwittingly ingested.




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                            F.      NEGLIGENCE OF THE DEFENDANT

10.    Plaintiff incorporates by reference all of the allegations contained in the foregoing

paragraphs as if they were fully restated herein.

11.    Plaintiff believes and alleges that the Defendant, EXPRESS SCRIPTS, INC. F/K/A

MEDCO, INC committed certain acts and/or omissions in the medical care and treatment of

Laura Logan-Cearley, which constituted negligence, and that such negligent acts and/or

omissions include, but are not limited to:

       a.      Providing defective and/or an improper dosage of her prescription medication for

               her leukemia treatment;

       b.      Failed to identify the error and correct the defect in the medication and/or dosage

               provided to Laura Logan-Cearley.

12.    Defendant owed Plaintiffs a duty of care to provide accurate and proper medication as

prescribed and to ensure that the prescription was appropriate for the purpose prescribed.

13.    Defendant breached its duty of care to Plaintiffs by failing to ensure that the prescription

drug it provided was the accurate and proper medication in the appropriate amount for the

purpose prescribed.

14.    Defendant’s breach of its duty to Plaintiffs was a direct, proximate and/or substantial

producing cause of Plaintiffs damages in that Defendant’s negligence was a direct, proximate

and/or substantial producing cause of Laura Logan-Cearley’s death.

15.    As a result of Defendant’s breach of its duty to Plaintiffs, Plaintiffs suffered damages as

more fully set forth below, and incorporated by reference.

16.    Each and all of the above and foregoing acts and/or omissions were negligent, and each

and all were a direct and proximate cause of emotional and physical injuries of Laura Logan-

Cearley, and the resultant injuries and damages sustained by Plaintiffs herein.

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                         G.      JOINT AND SEVERAL RESPONSIBILITY

17.     The negligence on the part of the Defendant, acting singularly or collectively was a

proximate cause of the injuries and damages sustained by Plaintiff, as more specifically set forth

herein below. Accordingly, Plaintiff would respectfully show that the Defendant is jointly and

severally responsible for the injuries and damages sustained by Plaintiff herein.

                                          H. DAMAGES

18.     Plaintiffs re-allege and incorporate the allegations alleged above as though they were set

forth herein.

19.     Plaintiffs would show as a direct and proximate result of the negligence of the Defendant

herein, Plaintiffs was caused to suffer conscious emotional distress and anguish, and loss of

consortium, for which Plaintiffs seek recovery herein.

20.     Further, Plaintiffs seeks recovery of reasonable and necessary medical, hospital, doctor,

and other incidental expenses.

21.     Further, the Estate of Laura Logan-Cearley is entitled to survival damages for pain,

suffering and emotional distress due to the abrupt recurrence and aggravation of her leukemia,

her impending death and actual death that was a direct, proximate and/or substantial producing

cause of her emotional distress and anguish, pain, suffering and subsequent death.

22.     Plaintiffs believe they have been injured and damaged in a sum that exceeds the sum or

value specified in 28 U.S.C. §1332.

23.     Plaintiffs demand costs, prejudgment interest and post judgment interest in the maximum

amount allowed by law, and to any other relief, both special and general, to which Plaintiffs may

be justly entitled.




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                                      I.      JURY DEMAND

23.    Plaintiffs assert their right under the Seventh Amendment to the U.S. Constitution and

demands, in accordance with Federal Rule of Civil Procedure 38, a trial by jury on all issues.

                                             J. PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff pray that the Defendant be duly

cited to appear and answer herein, and that upon final trial of this cause, Plaintiffs has and

recovers judgment of and from the Defendant, jointly and severally, in an amount within the

jurisdictional limits of this Court, for both pre-judgment and post-judgment interest, exemplary

damages, as allowed by law, plus costs of Court, and for such other and further relief, both

general and special, at law or in equity, to which Plaintiffs may be justly entitled.

                                                      Respectfully submitted,




                                                      Scott M. Hendler
                                                      State Bar No. 09445500
                                                      Federal Bar No. 250171
                                                      HendlerLaw, P.C.
                                                      1301 W. 25th St., Suite 400
                                                      Austin, Texas 78705
                                                      (512) 439-3200
                                                      FAX: (512) 439-3201
                                                      shendler@hendlerlaw.com
                                                      Attorney for Plaintiffs




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